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            IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA                   )
                                           )
       vs.                                 )
                                           ) 2:20-cr-173
                                           )
DA'JON LENGYEL, et al.,                    )
                                           )
                Defendant.                 )
                                           )
                         ORDER SCHEDULING
             INITIAL CRIMINAL CASE STATUS CONFERENCE
      Federal Rule of Criminal Procedure 50 requires district courts to give
“[s]cheduling preference” to all criminal proceedings “as far as practicable” in
order to ensure the prompt disposition of criminal cases. Fed. R. Crim. P. 50.
Moreover, district courts possess broad discretion to manage cases, control
their docket, and grant or deny continuances. See Drippe v. Tobelinski, 604
F.3d 778, 783 (3d Cir. 2010) (“As a general matter, we accord district courts
great deference with regard to matters of case management.”); United States
v. Kikumura, 947 F.2d 72, 78 (3d Cir. 1991) (“A trial court’s decision to deny a
continuance will only be reversed if an abuse of discretion is shown.”); 3A
Charles A. Wright, Federal Practice and Procedure: Criminal 2d § 832 (1982)
(“Occasionally an abuse of discretion [in granting or denying a continuance]
will be found, but this is so rare that it is correct to say that the action of the
trial court is ordinarily not reviewable.”).
      Pursuant to that authority, and to ensure the efficient disposition of
justice and meaningful preservation of the right to a jury trial in all criminal
proceedings, the Court has adopted certain standard practices governing all
newly filed criminal cases. In accordance with those practices, it is HEREBY
ORDERED as follows:
      First, the Court’s practice is to hold an Initial Case Status Conference
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at the early stage of all criminal cases. Pretrial motions are currently due to
be filed by 10/15/2020. Accordingly, an Initial Case Status Conference
in this matter will be held telephonically on 10/13/2020 at 3:00 PM.
Dial-in instructions will follow this Order.
      Second, the parties should be prepared to discuss the nature of the
charges and any anticipated discovery needs or issues at the Initial Case
Status Conference.     Counsel should further be prepared to consult their
calendars during the status conference and discuss a realistic timeline for
exchanging any outstanding discovery, the filing of pretrial motions, and trial.
      Third, at the status conference and at various dates thereafter, counsel
will be ordered to update the Court on whether a plea agreement or pre-trial
diversion agreement is imminent or has been reached.
      Fourth, the Court advises that it will not consider or approve any
written motions requesting further extensions of time to file pretrial motions
submitted by the parties prior to the Initial Case Status Conference. The
parties should be prepared to discuss any further extension of time, and to
orally move for any such extension, at the Initial Case Status Conference. In
non-complex cases where a defendant is in pre-trial custody, additional
extensions are unlikely to be granted, and a trial date will be set at the initial
status conference. For other cases, during the status conference, the Court will
advise the parties of its practices governing any subsequent motions to extend
the time to file such motions.
      DATED this 1st day of September, 2020.
                                     BY THE COURT

                                     /s/ J. Nicholas Ranjan
                                     United States District Judge


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